        Case 2:13-cr-00185-MMD-VCF            Document 169       Filed 01/27/16   Page 1 of 1




1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                     ***

4

5     UNITED STATES OF AMERICA,

6                         Plaintiff,                     2:13-cr-00185-MMD-VCF
                                                         ORDER
7     vs.
      ROBERT C. BARROW, true name Robert C.
8     Barrows, Sr.,
9                          Defendant.
10          Before the court is the Motion to Withdraw as Attorney (#168).
11          IT IS HEREBY ORDERED that a hearing on the Motion to Withdraw as Attorney (#168) is
12   scheduled for 1:30 p.m., February 4, 2016, courtroom D.
                                                          3D.

13          DATED this 26th day of January, 2016.
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                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE

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